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                          UNITED STATES DISTRICT COURT
io
                        CENTRAL DISTRICT OF CALIFORNIA
ii
is
           UNITED STATES,                  ~       Case No.: CR 13-0106
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14        Plaintiff
is         vs.                                 MOTION TO FILE AMICUS

16         MONGOL NATION,                      CURIAE BRIEF OF SEVEN

i~                                             LAW PROFESSORS IN
          Defendant
is                                             SUPPORT OF NEITHER PARTY

19                                             DATE:                 TIME:

Zo                                             JUDGE: HON.DAVID O.

21                                             CARTER

22                                             COURTROOM 9D

23                                         (PROPOSED ORDER FILED

24                                             CONCURRENTLY HEREWITH)

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 1     MOTION FOR LEAVE TO FILE AMICUS CURIAE BRIEF
 a           This is a motion for leave to file an amicus curiae brief by seven intellectual
 3-    property professors. The grounds for the motion and the interest ofthe amici are
 4     set forth in the attached memorandum of points and authorities. The amicus brief i~
 s     also attached to this motion.
 6     CERTIFICATE OF INTEREST
            (1)The amid curiae are seven professors of intellectual property law.
 s          (2)No party's counsel authored the proposed amicus brief in whole or in
 9     part. No party or party's counsel contributed money intended to fund preparing or
io     submitting the proposed brief. No person, other than amicus curiae, its members,
ii     or its counsel, contributed money that was intended to fund preparing or submitting
12     the proposed brief.
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     MEMORANDUM OF POINTS AND AUTHORITIES
 2          Amici are responding to the Court's invitation to address questions relating
 3   to the forfeiture ofthe Mongols trademarks, specifically "[1]Whether criminal
 4   forfeiture of any and all legal and equitable rights of any kind or nature associated
 s   with or appurtenant to a collective mem-bership mark violates the First
 6   Amendment to the United States Constitution.[2] Whether criminal forfeiture of a
     collective membership mark is feasible under intellectual property law." Order of
 s   January 17, 2019. As the Court recognized, the forfeiture ofthe trademarks of an
 9   association that uses the marks for associational purposes, rather than primarily to
to   identify goods and services sold to the public, raises unusual questions. Trademark
ii   law, however, does provide some guidance about(1) what would be necessary for
12   a successful involuntary transfer oftrademarks and(2) what the consequences of
13   losing the trademarks would be for the club and its members, which may assist the
14   Court in determining whether forfeiture is a feasible way of achieving the gov-
15   ernment's aims. To the extent that the government seeks to stop the club and its
16   members from using the term "Mongols" to describe themselves, forfeiture ofthe
i~   Mongols trademarks will not necessarily do this, To stretch trademark law to
ig   suppress self-identification rather than to govern the marketplace for goods or
19   services would pose serious First Amendment dangers.
Zo   These are largely novel questions, given that prior trademark forfeiture cases of
zi   which we are aware have focused on the assets of an ordinary business (albeit one
22   also engaged in racketeering activities) where the relevant trademarks relate to
23   goods and services offered for sale to the public, rather than to associational
24   activities. See, e.g., Cash Processing Servs. v. Ambient Entertainment, Inc., 418 F.
25   Supp. 2d 1227(D. Nev. 2006).
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 i          Proposed amid are familiar with the trademark law concepts relevant to
 2   answering the Court's questions identified above. They are professors of
 3   intellectual property law who have taught and written about trademark law and the
 4   freedom of speech. This is a list of their names and institutional affiliations (the
 s   latter listed for identification purposes only):
 6   Stacey L. Dogan                   Boston Univ. School of Law
     Mark A. Lemley                    Stanford Law School
 s   Jessica Litman                    University of Michigan School ofLaw
 9   Mark P. McKenna                   Notre Dame Law School
io   Jennifer E. Rothman               Loyola Law School, Los Angeles
ii   Jessica Silbey                    Northeastern University School ofLaw
12   Rebecca Tushnet                  Harvard Law School
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14   For these reasons, proposed amid believe that their brief would be useful to this
is   Court's deliberations, and they therefore seek this Court's leave to file the brief.
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i9                                           Dated: February 6, 2019
20                                           Respectfully Submitted,
21                                           By:        /s/Rebecca Tushnet
a2                                                         REBECCA TUSHNET
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